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                                                                                U.S. OISTHICT COURT
                                                                              DIS TR ICT OF NEBI AS KA
                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA                       021 OCT 20 PH 12: t.5
UNITED STATES OF AMERICA,                                                     OFFICE OF THE 'lERK
                       Plaintiff,                                       4:21CR3t33

       vs.                                                         INDICTMENT
                                                                18 U.S.C. § 2252(a)(2)
MATT TIBBELS,                                                 18 U.S.C. § 2252(a)(4)(B)

                       Defendant.


       The Grand Jury charges that

                                             COUNT!

       Beginning at least on or about August 31, 2020 until on or about October 4, 2021 in the

District of Nebraska, the defendant, MA TT TIBBELS, knowingly received any child

pornography as defined in Title 18, United States Code, Section 2256(8), using any means or

facility of interstate commerce and that has been shipped or transported in or affecting interstate

or foreign commerce, by any means, including by computer, and the production of such visual

depiction involved the use of a minor engaging in sexually explicit conduct and the visual

depiction was of such conduct.

       In violation of Title 18, United States Code, Section 2252(a)(2).



                                            COUNT II

       On or about October 5, 2021, in the District of Nebraska, MATT TIBBELS, the

defendant, did knowingly possess one or more computer files and other matter which contained

an image of child pornography, the production of such visual depictions involved the use of a

minor engaging in sexually explicit conduct and such visual depictions were of such conduct,

said computer files and other matter had been shipped or transported in interstate commerce by

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any means, including by computer including images of child pornography, involving

prepubescent minors or minors who had not attained 12 years of age.

        In violation of Title 18, United States Code, Section 2252(a)(4)(B).


                                                    A TRUE BILL.




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       The United States of America requests that trial ofthis case be held in Lincoln, Nebraska,
pursuant to the rules of this Court.




                                                TEsIEL.SMITH                .    ,
                                                Assistant United States Attorney




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